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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                         Criminal No. 20-CR-181(1)(PJS)

UNITED STATES OF AMERICA,

                     Plaintiff,
                                           GOVERNMENT’S
               v.                          SENTENCING
                                           MEMORANDUM
DYLAN SHAKESPEARE
ROBINSON,

                     Defendant.

        For the following reasons, the United States recommends that Defendant

Dylan Shakespeare Robinson receive a sentence 48 months imprisonment. The

United States believes that such a sentence is sufficient, but not greater than

necessary, to comport with the Section 3553(a)(2) sentencing factors.

   I.      Relevant Facts

   A.      Offense Conduct

        On May 25, 2020, George Floyd died while being arrested by the Minneapolis

Police Department. (Presentence Investigation Report (“PSR”) ¶ 11, ECF No. 125.)

The nature and circumstances of Mr. Floyd’s arrest, subsequent death, and the

actions of the Minneapolis Police Department came under intense public scrutiny.

(Id.) Almost immediately following Mr. Floyd’s death, public protests began in

Minneapolis and expanded throughout the Twin Cities metro area. (Id.)

        Following the mostly peaceful protests that occurred on May 26, 2020, the

cities of Minneapolis and St. Paul endured multiple nights of violence and

destruction. (Id. ¶ 12.) Between May 27 and May 30, 2020, following several peaceful
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protests, hundreds of individuals vandalized and looted local businesses and

destroyed buildings, vehicles, and other property through arson, smashing doors and

windows, and throwing objects. (Id.) The Minneapolis neighborhood surrounding the

East Lake Street-Hiawatha intersection, near the site of the police’s encounter with

Mr. Floyd, was particularly hard hit, with numerous business in the neighborhood

looted and partially destroyed by vandalism and arson (Id.) On May 27, 2020, several

businesses surrounding the Third Precinct were looted, and multiple fires were set,

including to an apartment complex under construction that was essentially

destroyed. (Id.) City authorities began to discuss if the Third Precinct building should

be abandoned, and vehicles, weapons, computers, and sensitive files were ultimately

moved offsite. (Id.)

      On May 28, 2020, it became clear that assistance was required. The National

Guard was called on to assist in the city of Minneapolis. (Id. ¶ 13.) Throughout the

day, hundreds of people remained gathered around the Third Precinct building. (Id.)

A small handful of officers were stationed on the roof guarded the building. (Id.) A

mobile fence had been erected around the building which was increasingly tested by

the protestors as the evening went on. (Id.) At about 9:30 p.m., the approximately 15

to 20 officers that remained at the Third Precinct were ordered to evacuate as the

crowd, which by some estimates topped 1,000 people, grew larger and more

aggressive, and became increasingly uncontrollable. (Id.)

      Shortly after 10 p.m., an individual breached the temporary fence that had

been protecting the Third Precinct building. (Id. ¶ 14) Soon after, many protestors




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followed and entered the building. (Id.) Rioters damaged property and set multiple

fires in the building. (Id.) Firefighters could not reach the building due to the large

number of protestors and the violent acts of the rioters. (Id.) The fires were eventually

extinguished the following morning. (Id.)

      Dylan Robinson was captured of surveillance video lighting an object on fire,

held by another unidentified co-conspirator, before that individual threw the object

towards the Third Precinct (where multiple fires had already been set). (Id. ¶ 20.)

Robinson can be seen, wearing a white sweatshirt with a distinctive black horizontal

stripe and a black stocking cap, lighting the object on fire. Robinson then looks on as

the individual throws the lit object at the Third Precinct.




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      Another video shows Robinson throwing a flaming object towards the Third

Precinct.




      Robinson also set fire to a pile of flammable materials (which appeared to be

cardboard boxes) in a stairwell inside the Third Precinct. (Id.) The video, uploaded by

another individual to a public Facebook account, shows an unidentified co-conspirator

spray a flammable liquid onto the fire after Robinson lit it.




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   B.       Community Impact

        Robinson and his co-conspirators’ conduct impacted the surrounding

community, both those associated with the Third Precinct as well as community

business owners and residents more broadly.

        Multiple officers stationed at the Third Precinct submitted victim impact

statements. They described the impact of seeing their workplace destroyed. Family

members of law enforcement officers also submitted statements, like the young child

that discussed the feeling of seeing her mother’s place of work burn live on television

while worrying about the safety of her mother. Civilian employees who worked at the

Third Precinct also submitted statements. One individual, a Crime Prevention

Specialist, addressed community members’ concerns for high crime areas located in

the precinct. He discussed the damage to the community by the loss of community

programs like the Community Response Team and Neighborhood Coordination

Officers, and how those in the community rely on those resources. Numerous

community members also submitted statements describing the impact of the

destruction of the Third Precinct. One described the impact to the community of the

lack of police resources due to the Third Precinct being destroyed, including that the

police are hampered in their ability to respond to crime due to the absence of the

precinct building. Others discussed the defeat, despair, and fear they felt as

community members witnessing firsthand the destruction to their local police

precinct.




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        In the plea agreement, the parties agreed that the Mandatory Victims

Restitution Act applies and that the total amount of restitution for the loss suffered

by the Minneapolis Police Department was $12,000,000. (PSR ¶ 23.) Those costs

include rebuilding or repairing the Third Precinct building, as well as additional costs

for equipment, clean up, and overtime pay for city employees in the aftermath of the

arson. (Id. ¶ 25.)

   C.      History of the Defendant

            1.       Personal Background

        Robinson is 23 years old. (PSR ¶ 61.) Robinson had a tumultuous and unstable

childhood. Robinson’s father was not present when he was growing up. (Id.) He was

raised primarily by his single mother in Brainerd, Minnesota. (Id.) When Robinson

was young, his mother was in an abusive relationship. (Id.)

        When Robinson was approximately 10 years old, his mother began a

relationship with a different man who lived in north Minneapolis. (Id. ¶ 62.) Robinson

and his mother relocated to Minneapolis for about a year. (Id.) Although a significant

change from Brainerd, Robinson enjoyed his time in Minneapolis meeting new,

diverse people and learning how to skateboard, which is a hobby and passion of his.

(Id.) When that relationship ended, Robinson and his mother moved back to Brainerd.

(Id.)

        Robinson reported feeling “isolated and lonely” during his early teenage years.

(Id. ¶ 63.) He focused on his main hobby, skateboarding. He also started using drugs

at age 13. (Id.) At age 14, he began staying with a girlfriend, and by age 16, he has

essentially moved out of his mother’s apartment. (Id.) He would often stay with

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friends or travel around the country on road trips to participate in different

skateboarding events. (Id.)

      Robinson has begun a relationship with his biological father. (Id. ¶ 64.) His

father reached out to him on social media, and they now have a sporadic relationship.

(Id.) His father is “homeless by choice” and lives out of a vehicle in Minneapolis. (Id.)

According to Robinson, his father told him that his mother was emotionally abusive,

while his mother told him that his father was physically abusive. (Id.)

      Robinson attended public school through the sixth grade. (Id. ¶ 84.) After that,

he was often truant or at times homeschooled. (Id.) He tried several alternative

schools in high school, but stopped attending when he reached age 16. (Id.)

           2.       Mental Health and History of Substance Abuse

      Robinson has a history of struggling with substance abuse. He first tried

marijuana at age 13, and he quickly became a daily user. (Id. ¶ 75.) By age 14 or 15,

he was drinking heavily and experimenting with heroin, opiates, and other drugs.

(Id.) By age 16, his drugs of choice became LSD and psilocybin mushrooms, and

primarily used those several times a month, along with marijuana daily. (Id.)

      Robinson was arrested for drug possession at age 18. As part of his ten year

probationary sentence, he began regular drug testing. (Id. ¶ 77.) He struggled with

drug use during this period, testing positive for marijuana multiple times. (Id.) After

moving to Minneapolis in 2019, Robinson increased his alcohol consumption and also

began using cocaine recreationally. (Id. ¶ 78.)

      Robinson has participated in several substance abuse treatment programs,

although with varied success. (Id. ¶ 79.) He has struggled to complete these programs

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and on more than one occasion withdrew. Most recently, Robinson has been residing

in a sober housing facility in St. Paul and was admitted for continued outpatient

treatment. (Id. ¶ 83.) To his credit, he has attended at least 20 hours of programming

each week in January and February of 2021, and all drug tests submitted since his

initial appearance in this case have been negative. (Id.)

      Robinson also has a history of mental and emotional health challenges.

Robinson believes that some of these struggles are related to experiencing and

witnessing abuse in his mother’s relationships as a child. (Id. ¶ 71.) When evaluated

in November 2020, he met the criteria for posttraumatic stress disorder and major

depressive disorder. (Id. ¶ 72.) Records reflect a history of self-harm and a suicide

attempt at age 15. (Id. ¶ 74.)

             3.     Criminal History

      Robinson has one previous felony conviction, along with multiple lower level

misdemeanor convictions. In 2015, Robinson pled guilty to driving without a license

and with no proof of insurance, along with possession of marijuana and drug

paraphernalia. (PSR ¶ 52.) He paid a fine to resolve his case. In 2016, Robinson pled

guilty to fourth degree drug possession. (Id. ¶ 53.) Robinson was in possession of half

a gram of marijuana and 13 squares of blotter paper of LSD. (Id.) He received a stay

of adjudication and 10 years probation. He also has two misdemeanor driving

infractions in 2019 for driving an uninsured vehicle and driving with expired

registration. (Id. ¶¶ 54-55.) Robinson has multiple juvenile offenses, including for

curfew violations, skateboarding in a prohibited area, and a fireworks violation. (Id.

¶¶ 45-50.)

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II.   Argument

      A.     Legal Background

      “[A] district court should begin all sentencing proceedings by correctly

calculating the applicable Guidelines range.” Gall v. United States, 552 U.S. 38, 49

(2007). “[U]nder the advisory guidelines scheme, sentencing judges are required to

find sentence-enhancing facts only by a preponderance of the evidence.” United States

v. Scott, 448 F.3d 1040, 1043 (8th Cir. 2006).

      “[A]fter giving both parties an opportunity to argue for whatever sentence they

deem appropriate, the district judge should then consider all of the § 3553(a) factors

to determine whether they support the sentence requested by a party.” Gall, 552 U.S.

at 49-50; 18 U.S.C. § 3553(a). The Section 3553(a) factors include “the nature and

circumstances of the offense,” “the history and characteristics of the defendant,” “the

need for the sentence to reflect the seriousness of the offense,” “the need for

deterrence,” “the need to protect the public from further crimes of the defendant,” and

“the need to avoid unwarranted disparities.” 18 U.S.C. § 3553(a).

      B.     The Presentence Investigation and Guidelines Calculations

      The United States has reviewed the PSR prepared by the U.S. Probation Office.

As noted in the PSR, on September 25, 2020, Robinson pled guilty pursuant to a plea

agreement to a single count Indictment charging him and three co-defendants with

Conspiracy to Commit Arson. (PSR ¶ 2.) In his plea agreement with the government,

Robinson agreed that the base offense level was 24 and no adjustments or

enhancements.




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      Although the total offense level contemplated in the plea agreement is

consistent with the PSR, the parties contemplated that Robinson would fall into a

criminal history category II (although that was not a stipulation, merely a belief

based on an assessment of the information currently known to the parties).

      The PSR concluded that Robinson is criminal history category III, with four

total criminal history points – one point for his drug possession case, two points for

committing the instant offense while under a criminal justice sentence, and one point

for a petty misdemeanor citation for possession of marijuana and drug paraphernalia.

Although it differs from the plea agreement, the Government concurs with the

technical computation of criminal history calculation in the PSR. (Id. at ¶ 116.)

      However, the PSR also notes that a downward departure to criminal history

category II may better reflect the seriousness of Robinson’s criminal history and risk

of recidivism. (Id.) The PSR concluded that the resulting criminal history category of

III was not commensurate with Robinson’s history considering, among other reasons,

he has otherwise never served any jail terms. (Id.) The Government similarly concurs

that criminal history category II more accurately reflects the seriousness of

Robinson’s criminal history and the likelihood that he will commit other crimes.

      The PSR concluded that, based on a total offense level of 21 (including a 3-level

reduction for acceptance of responsibility) and criminal history category of III, the

resulting advisory Guidelines range of imprisonment is 46 to 57 months

imprisonment. If the Court determines that Robinson’s criminal history is overstated

and instead falls into criminal history category II, the Guidelines range is 41 to 51




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months imprisonment. (Id. ¶ 6.)

      Robinson also stipulated in the Plea Agreement that the loss amount for

purposes of restitution was $12,000,000, but the parties reserved their rights to make

legal arguments about the amount of restitution to be paid by Robinson.

      C.     The Appropriate Sentence

      A careful consideration of the Section 3553(a) factors warrants a sentence of

48 months imprisonment. This sentence is on the high end of the Guidelines range if

the Court were to determine that Robinson should be criminal history category II.

           1.         The Nature and Circumstances of the Offense and the
                      Need for the Sentence Imposed to Reflect the Seriousness
                      of the Offense

      Robinson participated in an unquestionably serious conspiracy to commit

arson at a police station, which requires a correspondingly significant sentence.

Robinson lit objects on fire, threw burning objects at the building, and set a fire inside

the Third Precinct.

      However, Robinson was one of only many who participated in the near total

destruction of an active police station. Investigating agents identified at least 45

areas of origin where fires had been started throughout the Third Precinct building.

Dozens of unidentified co-conspirators participated in setting those fires, along with

looting, vandalism, and destruction of the rest of the building. From a destruction

standpoint, Robinson’s conduct played an average (or possibly slightly above average)

role compared to others.

      On the other hand, Robinson was among the first individuals to approach the

Third Precinct building when the protests began to turn violent. Some additional


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culpability is warranted for his early conduct, which likely spurred other protestors

to enter the building and propagated additional arson and destruction.

      In his written statement of acceptance of responsibility, Robinson discussed

his regret for his actions involving the Third Precinct and how he knows what he did

that night was wrong and criminal. (PSR ¶ 27.) He also expressed remorse that his

actions hurt his original goal when he decided to join the protests, which was to

promote justice and end police brutality. (Id.) The Government takes Robinson at his

word that he is indeed remorseful for his conduct and does not believe that he came

to the protest to commit violent crimes or wreak havoc.

      The protests of racial injustice following the death of George Floyd and events

leading up to the arsons at the Third Precinct were unprecedented. Importantly,

much of the anger and pain of protesters was directly aimed at the Third Precinct –

as a building and as a symbol – because all four officers associated with the death of

George Floyd were stationed at the Third Precinct. That fact in no way excuses the

violence or destruction aimed at the Third Precinct. It does, however, create a

juxtaposition against the violence and destruction of seemingly unrelated buildings

in the community, including a school, liquor stores, pawn shops, and a post office (to

name but a few examples of local businesses that were looted, vandalized, set on fire,

or otherwise destroyed).

      Ultimately, however, the sentence imposed must reflect the unquestionably

serious nature of the offense. Robinson threw a lit item at the building. He also lit a

fire inside the building. He participated in the near total destruction of an active




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police precinct that caused $12 million in damages. The neighborhoods served by the

Third Precinct faced unique challenges of dealing with an increase in crime rates

without a precinct to house the police force charged with protecting those

neighborhoods.

      In addition, the sentence should reflect the seriousness of arson, a violent

felony. Robinson set a fire inside the building, at the base of a stairwell. Numerous

other people were in the vicinity and an unknown number of people were upstairs.

Robinson’s conduct placed these people in significant danger. He risked the lives of

numerous individuals inside the Third Precinct. Once a fire is started, it can spread

uncontrollably and cause untold damage to people or property. This is precisely why

arson is considered a violent crime. A significant sentence will reflect the serious risks

to and impact on the community from the arsons committed at the Third Precinct.

           2.       The History and Characteristics of the Defendant

      Robinson’s culpability is to some extent diminished by the challenges and

difficulties he faced in his upbringing, as well as his challenges with his mental and

emotional health. Much of Robinson’s upbringing appears to have been spent without

strong parental oversight or other mentorship. He struggled in school and did not

receive much of a high school education. He also appears to have struggled with

undiagnosed and untreated mental health challenges as a child, including self-harm

and a suicide attempt at age 15. From an early age, as young as 14, he was

sporadically living with friends or partners and away from his family. Likely due to

many of these reasons, Robinson turned to drugs and alcohol. His challenges with




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substance abuse only amplified the other problems he faced in his life. None of this

serves as an excuse or justification for his participation in the arsons committed at

the Third Precinct. But it may offer some explanation for how he ended up in this

situation.

      After being charged by complaint, Robinson promptly accepted responsibility

for his wrongdoing. He met with the Government. He entered a guilty plea early and

admitted his culpability.

             3.     The Need for the Sentence Imposed to Promote Respect
                    for the Law and Afford Adequate Deterrence.

      It is almost unfathomable to think that an active police precinct in the city of

Minneapolis was overrun, looted, vandalized, and set on fire. This conduct represents

a total breakdown of respect for the law. A significant sentence is necessary to

promote respect for the law.

      The sentence should have an overall deterrence effect. The sentence imposed

must be tailored to prevent Robinson from committing another crime. This is not

Robinson’s first felony conviction, although it does mark a significant departure from

his previous convictions for drug possession. None of his previous convictions involved

violence or arson. Robinson has never served a term of incarceration for any of his

previous convictions. The Government does not believe that a significant sentence in

necessary to provide specific deterrence to prevent Robinson from committing

another similar crime.

       However, general deterrence is also necessary to demonstrate the importance

of laws and deter future conduct. See Ferguson v. United States, 623 F.3d 627, 632



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(8th Cir. 2010) (“Congress specifically made general deterrence an appropriate

consideration . . . and [the Eighth Circuit has] described it as ‘one of the key purposes

of sentencing.’”) Others are more likely to be deterred from committing similar

violence and destruction if they learn they will pay a stiff price for it.

       A sentence of 48 months imprisonment will serve the needs of sentencing to

reflect the seriousness of the offense, promote respect for the law, provide just

punishment for the offense, and afford adequate deterrence.

           4.       The Need to Avoid Unwarranted Sentencing Disparities

       Three co-defendants have plead guilty and are presently awaiting sentencing

before this Court. The Government previously submitted its sentencing position

memorandum as to co-defendant Bryce Williams, which recommended to this Court

that Williams receive a sentence of 42 months imprisonment. Williams has not yet

been sentenced. The Government is not aware of any other cases that would create

an unwarranted sentencing disparity.

III.   Conclusion

       For all the above reasons, the United States respectfully requests that the

Court impose a sentence of 48 months imprisonment.

                                                 Respectfully submitted,

Dated: March 26, 2021                            W. ANDERS FOLK
                                                 Acting United States Attorney
                                                 /s/ Harry M. Jacobs
                                                 BY: DAVID P. STEINKAMP
                                                 HARRY M. JACOBS
                                                 Assistant U.S. Attorneys




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